Case 4:21-cv-00468-MWB   Document 35-7   Filed 09/30/22   Page 1 of 19




                     EXHIBIT F
Case 4:21-cv-00468-MWB   Document 35-7   Filed 09/30/22   Page 2 of 19




                                                                 MUNCY-000017
Case 4:21-cv-00468-MWB   Document 35-7   Filed 09/30/22   Page 3 of 19




                                                                 MUNCY-000018
Case 4:21-cv-00468-MWB   Document 35-7   Filed 09/30/22   Page 4 of 19




                                                                 MUNCY-000019
Case 4:21-cv-00468-MWB   Document 35-7   Filed 09/30/22   Page 5 of 19




                                                                 MUNCY-000020
Case 4:21-cv-00468-MWB   Document 35-7   Filed 09/30/22   Page 6 of 19




                                                                 MUNCY-000021
Case 4:21-cv-00468-MWB   Document 35-7   Filed 09/30/22   Page 7 of 19




                                                                 MUNCY-000022
Case 4:21-cv-00468-MWB   Document 35-7   Filed 09/30/22   Page 8 of 19




                                                                 MUNCY-000023
Case 4:21-cv-00468-MWB   Document 35-7   Filed 09/30/22   Page 9 of 19




                                                                 MUNCY-000024
Case 4:21-cv-00468-MWB   Document 35-7   Filed 09/30/22   Page 10 of 19




                                                                 MUNCY-000025
Case 4:21-cv-00468-MWB   Document 35-7   Filed 09/30/22   Page 11 of 19




                                                                 MUNCY-000026
Case 4:21-cv-00468-MWB   Document 35-7   Filed 09/30/22   Page 12 of 19




                                                                 MUNCY-000027
Case 4:21-cv-00468-MWB   Document 35-7   Filed 09/30/22   Page 13 of 19




                                                                 MUNCY-000028
Case 4:21-cv-00468-MWB   Document 35-7   Filed 09/30/22   Page 14 of 19




                                                                 MUNCY-000029
Case 4:21-cv-00468-MWB   Document 35-7   Filed 09/30/22   Page 15 of 19




                                                                 MUNCY-000030
Case 4:21-cv-00468-MWB   Document 35-7   Filed 09/30/22   Page 16 of 19




                                                                 MUNCY-000031
Case 4:21-cv-00468-MWB   Document 35-7   Filed 09/30/22   Page 17 of 19




                                                                 MUNCY-000032
Case 4:21-cv-00468-MWB   Document 35-7   Filed 09/30/22   Page 18 of 19




                                                                 MUNCY-000033
Case 4:21-cv-00468-MWB   Document 35-7   Filed 09/30/22   Page 19 of 19




                                                                 MUNCY-000034
